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eset f Form UNITED STATES DISTRICT COURT
- - CENTRAL DISTRICT OF CALIFORNIA

CASE SUMMARY

 

 

 

Case Numbefl Q ¢C eR 0) () 4 47 Gio

U.S.A. v. Arman ‘Gabaee

 

Indictment [_] Information Investigative agency (FBI, DEA, etc.)

NOTE: All items MUST be completed. If you do not know the answer or a question is not applicable to your case, enter

OFFENSE/VENUE

a. Offense charged as a:

[_] Class A Misdemeanor [_] Minor Offense [] Petty Offense
[_] Class B Misdemeanor [_] Class C Misdemeanor [¥] Felony
b. Date of Offense Ona date unknown through 04/25/17

 

c. County in which first offense occurred

Los Angeles County

 

d. The crimes charged are alleged to have been committed in
(CHECK ALL THAT APPLY):

Los Angeles [| Ventura

[|] Orange [_] Santa Barbara
[-] Riverside [_] San Luis Obispo
[| San Bernardino [| Other

Citation of Offense 18 U.S.C. 1343, 1346; 18 U.SC. 666(a)(2)

 

 

e. Division in which the MAJORITY of events, acts, or omissions
giving rise to the crime or crimes charged occurred:

Western (Los Angeles, San Luis Obispo, Santa Barbara, Ventura)
[_] Eastern (Riverside and San Bernardino) [| Southern (Orange)

RELATED CASE

Has an indictment or information involving this defendant and
the same transaction or series of transactions been previously
filed and dismissed before trial?

No [| Yes
If "Yes," Case Number: N/A

 

Pursuant to General Order 16-05, criminal cases may be related
if a previously filed indictment or information and the present
case:

a. arise out of the same conspiracy, common scheme,
transaction, series of transactions or events; or

b. involve one or more defendants in common, and would
entail substantial duplication of labor in pretrial, trial or
sentencing proceedings if heard by different judges.

Related case(s), if any (MUST MATCH NOTICE OF RELATED
CASE): N/A

 

 

Defendant Number 1

 

Year of Birth 1961

 

 

 

FBI

PREVIOUSLY FILED COMPLAINT/CVB CITATION

  
  

A complaint/CVB citation was previously filed on: 05/10/18

Case Number: 18-MJ-1149

 

Assigned Judge: N/A

 

Charging: 18 U.S.C. 666(a)(2)
The complaint/CVB citation:

is still pending
[] was dismissed on:

PREVIOUS COUNSEL

Was defendant previously represented? [_] No Yes

IF YES, provide Name: Thomas P. O'Brien

 

Phone Number: (213) 683-6146

 

COMPLEX CASE

Are there 8 or more defendants in the Indictment/Information?

[ ] Yes* No

Will more than 12 days be required to present government's

evidence in the case-in-chief?

[| Yes* No

*AN ORIGINAL AND 1 COPY (UNLESS ELECTRONICALLY FILED)
OF THE NOTICE OF COMPLEX CASE MUST BE FILED AT THE

TIME THE INDICTMENT IS FILED IF EITHER "YES" BOX |S
CHECKED.

SUPERSEDING INDICTMENT/INFORMATION
IS THIS ANEW DEFENDANT? [_| Yes [_] No
This is the superseding charge (i.e., 1st, 2nd),

The superseding case was previously filed on:
N/A

Case Number

 

The superseded case:
|] is still pending before Judge/Magistrate Judge

N/A

[_] was previously dismissed on

 

Are there 8 or more defendants in the superseding case?

[_] Yes* [-] No

Will more than 12 days be required to present government's

evidence in the case-in-chief?

|] Yes* [| No
Was a Notice of Complex Case filed on the Indictment or
Information?

[] Yes [|] No

*AN ORIGINAL AND 1 COPY OF THE NOTICE OF COMPLEX CASE
MUST BE FILED AT THE TIME THE SUPERSEDING INDICTMENT IS

FILED IF EITHER "YES" BOX IS CHECKED.

CR-72 (12/17) CASE SUMMARY

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UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA
CASE SUMMARY

 

 

INTERPRETER
isan interpreter required? —_[_] YES NO
IF YES, list language and/or dialect:

 

OTHER

Male [] Female
U.S. Citizen [_] Alien

Alias Name(s) Arman Gabay

 

 

 

This defendant is charged in:
All counts

|] Only counts:

 

[_] This defendant is designated as "High Risk" per
18 USC § 3146(a)(2) by the U.S. Attorney.

[_] This defendant is designated as "Special Case" per
18 USC § 3166(b)(7).

Is defendant a juvenile? [_] Yes No
IF YES, should matter be sealed? [_] Yes No

The area(s) of substantive law that will be involved in this case
include(s):

[_] financial institution fraud public corruption
[_] tax offenses
mail/wire fraud

[_] immigration offenses

[| government fraud
[_] environmental issues
[| narcotics offenses

[_] violent crimes/firearms [| corporate fraud

[|] Other

 

 

CUSTODY STATUS

Defendant is not in custody:
a. Date and time of arrest on complaint: 05/16/18; 10:45 a.m.

b, Posted bond at complaint level on: 05/16/18
in the amount of $ 1,000,000

c. PSA supervision? Yes [_|No

d. Is on bail or release from another district:
N/A

 

 

Defendant is in custody:
a. Place of incarceration: [_] State [_] Federal

b. Name of Institution: N/A

c. If Federal, U.S. Marshals Service Registration Number:
N/A

d.|_] Solely on this charge. Date and time of arrest:

N/A
e. On another conviction: — [“] Yes No

IFYES: [|] State [_] Federal [| Writ of Issue
f. Awaiting trial on other charges: [_] Yes No
IFYES: [| State {[_] Federal AND
Name of Court: N/A
Date transferred to federal custody: N/A

 

 

 

 

This person/proceeding is transferred from another district
pursuant to F.R.Cr.P. 20 21 40

 

 

EXCLUDABLE TIME

Determinations as to excludable time prior to filing indictment/information. EXPLAIN: N/A

Date May 30, 2018

 

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Signature-of Assistant U.S. Attorney
Ruth C. Pinkel

 

Print Name

 

CR-72 (12/17)

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